                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:07cr154

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )                      ORDER
               v.                                )
                                                 )
(2) KATHLEEN GIACOBBE,                           )
                                                 )
                      Defendant.                 )

       THIS MATTER is before the Court on the government’s motion to dismiss forfeiture and

to vacate the consent order and judgment of forfeiture filed in this case on August 20, 2009, as to

one asset only. (Doc. No. 324).

       For good cause shown, IT IS THEREFORE ORDERED THAT:

               1. The government’s forfeiture claim as to the bank account listed below is
               hereby dismissed, without prejudice; and,

               2. The consent order and judgment filed on August 20, 2009 (Doc. No. 305), is
               vacated as to the following property only:

                      (c) all funds in the following account at Community National Bank,
                      Derby, Vermont:

                              (ii) No. xxxxx7818 in the name of Dennis Giacobbe and/or
                              Kathleen Giacobbe, consisting of approximately $3,494.95.

                                                 Signed: November 9, 2009




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